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                                    UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OE COLUMBIA


        UNITED STATES OF AMERICA


                                                                    Criminal No.: I4-230(RC)
                      V.



                                                                    UNDER SEAL
        DANIELA GREENE,

                      Defendant.



          MOTION TO UNSEAL AND TO SUBSTITUTE REDACTED VERSIONS OF SOME
                                                 DOCUMENTS


               The United States of America, by and through its attorney, the United States Attorney for

        the District of Columbia, hereby moves the Court to unseal some documents previously filed

        under seal in this case. Unsealing is now appropriate with regard to these documents because the

        reasons supporting sealing no longer exist. In addition, in orderto facilitate unsealing someof

        these documents, the government moves this Court to substitutethree filings currently docketed

        under seal with redacted versions of those documents, proposed versions of which are attached

        hereto. In support of this motion, the government states as follows:

               On Friday, August 1, 2014 the United States filed a complaint charging the defendant

        with making false statements which facilitated the overseas travel of the defendant, who is a

        contract employee of the FBI with a Top Secret security clearance. See Complaint, ECF Dkt. #I.

        At that time, the defendant was at large in Syria or Turkey in the company of the leader of a

        terrorist group. That same day. Magistrate Judge Alan Kay granted the Government's motion to

        seal, and ordered that the Complaint, the Affidavit in support thereof, the Motion to Seal and the

        Sealing Order be sealed. See Motion to Seal, ECF Dkt #2; Order, ECF Dkt. #3. Based on

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representations in the Government's Motion to Seal, Magistrate Judge Kay also found that the

public docketing at that timeof these listed documents "could have an adverse effect on the

government's ability to obtain foreign-based evidence, have an adverse effect on the safety of

witnesses, and compromise the government's ability to obtain custody of the defendant        " and

therefore ordered that the docket also remain under seal

       On November 24, 2014, the United States filed an Information, charging the defendant

with False Statements Involving International Terrorism, and related documents, m anticipation

of the defendant's plea of guilty in this case At that time, the defendant, though incarcerated,

was assisting the government by providing information relevant to an ongoing investigation

The government moved to seal the Information and related documents, and indicated that

"publicity regarding the arrest of the defendant or the charges against her would contribute to a

substantial likelihood of imminent danger to a party, witness or other person as well as a

substantial likelihood that the ongoing investigation will be seriously jeopardized " See Motion

to Seal Information and Related Documents, ECF Dkt # 16 The Court ordered the documents

sealed on December 1, 2014 ^       Order granting Motion to Seal Information and Related

Documents, ECF Dkt #17 The defendant pleaded guilty to the Information on December 12,

2014 Sentencing is now scheduled for April 22, 2015 To date, all filings and hearings in this

case, as well as the Court's Electronic Case File docket sheet have been under seal

       The defendant is now in custody and her cooperation is at an end The continued sealing

of the many of the relevant documents in this case is no longer necessary to facilitate bringing

the defendant into custody or to protectthe integrity of an ongoing investigation Given these

changes in circumstances, the continued sealing of most of the documents central to this
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prosecution is neithernecessary nor supported by case law To this end, the Government moves

the Court to unseal the following documents associated with the case

       -     Complaint (ECF Dkt # l)(without attachments)

       -     a lightly redacted version of the Affidavit in supportof the Complaint, attached hereto
             as Attachment A, which the Government moves to substitute for the Affidavit
             docketed as an attachment to the Complaint at ECF Dkt # 1,

       -     Motion to Seal Complaint and Related Documents (ECF Dkt # 2),

       -     Order granting the government's Motion to Seal (ECF Dkt # 3),

       -     Arrest Warrant, (face sheet only) (ECF Dkt # 4),

       -     Waiver of Preliminary Hearing (ECF Dkt #5),

       -     Notice of Attorney Appearance (ECF Dkt # 6),

       -     Motion for a Protective Order (ECF Dkt U 7),

       -     Protective Order (ECF Dkt # 8),

       -     Memorandum of Understanding (ECF Dkt U9),

       -     Order to Continue (ECF Dkt # 10),

       -     Order to Continue (ECF Dkt # 11),

       -     Consent Motion to Continue and for Exclusion of Time Under the Speedy Trial Act
             (ECF Dkt # 12),

       -     Order granting Consent Motion to Continue and for Exclusion of Time Under the
             Speedy Trial Act (ECF Dkt # 14),

       -     Information (ECF Dkt # 15),

       -     Motion to Seal Information and Related Documents (ECF Dkt # 16),

       -     Order granting Motion to Seal Information and Related Documents (ECF Dkt # 17),

             Plea Agreement (ECF Dkt # 18),
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       -   a lightly redacted version of the Proffer of Proof, attached hereto as Attachment B,
           which would replace the Proffer of Proof currently docketed as ECF Dkt # 19,
       -   Waiver of Indictment (ECF Dkt # 20),

       -   Waiver of Right to Trial by Jury (ECF Dkt #21),

       -   Sentencing Scheduling Order (ECF Dkt # 22),

       -   Unopposed Motion to Continue Sentencing (ECF Dkt # 23),

       -   Order granting the Motion to Continue Sentencing (ECF Dkt # 24),

       -   Unopposed Motion for Temporary Release (ECF Dkt # 25),

       -   Order granting Motion for Temporary Release (ECF Dkt # 26),

       -   Unopposed Motion to Extend Time for Filing (ECF Dkt # 29),

       -   Order granting Motion to Extend Time (ECF Dkt # 30),

       -   Notice of Classified Filing (ECF Dkt #31),

       -   A lightly redacted version of the Government's Motion for Departure and
           Memorandum m Aid of Sentencing which would replace the filing now docketed at
           ECF Dkt # 39,

       -   Unopposed Motion to Continue Sentencing (ECF Dkt # 42),

       -   Order granting Motion to Continue Sentencing (ECF Dkt # 43),

       -   the instant motion and any order granting this motion, and

       -   the Court's Electronic Case File docket sheet related to this case

Unsealing these documents will allow appropriate publicaccess to and knowledge ofthe

circumstances of this case, since these documents set forth the circumstances of the crime

committed, the course of the prosecution and the resolution of the case

       The remainder of the relevant documents on the record discuss aspects of the case which

should not be made available to the public The Government's Classified Addendum to its
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Memorandum m Aid of Sentencing ("see Notice of Classified Filing, EOF Dkt #31) and the

Defendant's Memorandum in Aid of Sentencing ("see ECF Dkt # 32) each contain information

the Government believes to be classified The Defendant's Memorandum in Aid of Sentencing

(see id ) and the Unclassified Addendum to the Government's Motion for Departure and

Memorandum in Aid of Sentencing             ECF Dkt # 41) as well as tapes and transcripts of

hearings in the case contain discussions of the specifics of the defendant's cooperation which, if

revealed, are likely to raise safety concerns for the defendant and for others The remaining

documents filed in the case are unredacted versions or original versions of documents discussed

in this paragraph which have since been replaced by substitution

       The proposed redactions contained in the three documents attached hereto are closely

tailored to address specific safety concerns or other concerns, which are made obvious by the

content of the redacted materials

        For these reasons, the government submits that the proposed redactions, the unredacted

versions of these documents, any original versions of documents which have since been replaced

by substitution, and the tapes and transcripts ofthe hearings to date' should remain under seal to
prevent prejudice to the defendant and forestall safety concerns which might otherwise arise

        An analysis of the factors enumerated by the D C Circuit in United States v Hubbard

(650 F 2d 293, 315 (D C Cir 1981)) reveals no demonstrable publicneed to access these few

remaining materials at the present time The publichas had no prior access to the relevant

materials There has been no objection raised as to the continued sealing of these portions of the

case The parties that have a privacy interests in these documents—both the government and the

' The Govemment will request that argument ordiscussion regarding the specifics ofthe defendant's
cooperation at sentencing in this case be heard separately from other argumentand that the transcriptof
that argument or discussion be placed under seal
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defendant—would be served by keeping these portions of the case under seal. Disclosure of

these materials is likelyto compromise the safety of individuals and cause prejudice to the

defendant. No countervailing need for sealing is present.

       WHEREFORE, for all the foregoing reasons, the United States respectfully requests that

the Court issue an Order substituting the attached redacted versions of Affidavit in Support of the

Arrest Warrant, the Proffer of Proof, and the Government's Motion for Departure and

Memorandum in Aid of Sentencing for those currently in the record. Further, the United States

moves the Court to unseal the Court's Electronic Case File docket sheet in this case as well as

the documents requested herein, as listed above on pages 3 and 4. In addition, the United States

requests that the Court allow the remainder of the documents filed in this case and the contents

of the redacted portions of the documents discussed above, and the tapes and transcripts of the

hearings held to date in this case remain under seal. A proposed Order is submitted herewith.

                                                     Respectfully submitted,

                                                     VINCENT H. COHEN, Jr.
                                                     ACTING UNITED STATES ATTORNEY




                                                     Thomas A. Gillice
                                                     D.C. Bar # 452336
                                                     Assistant United States Attorney
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20530
                                                     (202)252-1791
                                                     thomas.gillice@usdoj.gov

Dated; April 17, 2015
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                                     Certificate of Service

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1hereby certify that, on the } ( day ofApril, 2015, a copy ofthe foregoing motion and all
       attachments was forwarded to Shawn Moore, counsel for the defendant, via email to
                                        shawn moore@fd.org.




                                      Thomas A. Gillice
                                 Assistant U.S. Attorney
